 Case 1:21-cv-01821-CJB Document 69 Filed 01/20/23 Page 1 of 1 PageID #: 1374



                      IN THE UNITED STATES DISTRICT COURT
                           FOR DISTRICT OF DELAWARE

TOPIA TECHNOLOGY, INC.,                     )
                                            )
      Plaintiff,                            ) C.A. No. 21-1821-CJB
                                            )
v.                                          )
                                            )
EGNYTE, INC.,                               )
                                            )
      Defendant.                            )

                     PLAINTIFF TOPIA TECHNOLOGY, INC.’S
                   MOTION FOR LEAVE TO AMEND COMPLAINT

      Pursuant to Federal Rule of Civil Procedure 15(a) and the Court’s oral ruling at the

Section 101 Day Motion Hearing held on December 20, 2022 (see Tr. of Dec. 20, 2022 Hr’g, at

221:21–222:11), Plaintiff Topia Technology, Inc. (“Topia”) moves for leave to amend the

Complaint (D.I. 1).   The bases for Topia’s motion are set out in its letter brief, filed

contemporaneously herewith.


                                             /s/ Kelly E. Farnan
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